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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                                    |
SECURITIES AND EXCHANGE COMMISSION, |
     Plaintiff                      |
                                    |
     v.                             |                           No. 4:21-cv-10908-TSH
                                    |
JAMES KENNETH COUTURE,              |
     Defendant                      |
                                    |

                    MOTION TO STAY CIVIL CASE/PROCEEDING

          Defendant James Couture, by and through undersigned counsel, hereby respectfully

moves this Honorable Court to stay the above-numbered civil complaint pending resolution

of a parallel criminal indictment stemming from the same underlying conduct now pending

in the District of Massachusetts. See United States v. Couture, 1:21-cr-10172-NMG.

          As grounds, Couture avers and states that the instant civil case (“the case” or “this

case”) was filed on June 11; he waived personal service of summons via a written and

signed waiver, returned to the SEC on June 4. See ECF#6. By agreement, such waiver

extended Couture’s time to answer the Verified Complaint against him by sixty days,

through August 3.

          On Friday, July 23, the parallel criminal indictment was unsealed and charges the

Couture with four counts of Wire Fraud, in violation of to 18 U.S.C. §1343; four counts of

Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A; one count of Investment

Advisor Fraud, in violation of 15 U.S.C. §§ 80B-6 & 80B-17; and forfeiture allegations.

Couture was arraigned on these charges that same day before the Honorable Jennifer C.



1
    Unless otherwise noted, all dates referenced herein are to the year 2021.
                                               1
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Boal and pled not guilty. He was released on conditions2 and the case was continued to

September 16 for an initial status conference, with automatic discovery to be provided by

the government within twenty-eight days. Upon further information and belief,3 the

criminal case now pending against Couture is based on the same core allegations (and

statements of alleged fact) as contained in this case.4

       Undersigned counsel was made aware that Couture had become the target of a

parallel DOJ investigation in early September 2020, shortly after he accepted service (in

late August) of an SEC documents-subpoena reflecting the Commission’s related

investigation into the same alleged conduct. He has regularly and consistently advised the

SEC of Couture’s intention to invoke his Fifth Amendment right to remain silent, as well

as his intention to rely upon his other attendant and related rights under the Fourth and

Sixth Amendments in view of him having (as was often stated by undersigned counsel in

related conversations with the SEC) “been identified as a target in a directly parallel

criminal investigation [then being] conducted by the DOJ.” Consistent with this, Couture



2
  Couture’s agreed-upon special conditions of release are report to U.S. Probation as
required; surrender his passport (and do not apply for a new one); limit travel to the
Continental United States, and not to dissipate assets without prior permission from U.S.
Probation (with a “carve-out”/exclusion for payment of related legal/attorney fees). He
must also observe/comply with all statutory conditions. A similar carve-out re
attorney/legal fees was written into the Restraining Order issued in this case.
3
 Undersigned counsel has personal familiarity with both referenced cases/matters as
Couture’s counsel of record in each.
4
  Both cases allege fraudulent acts against the same alleged victims in connection with
Couture’s purported management of, and involvement with, certain client accounts. The
alleged fraudulent scheme and many of the alleged acts in furtherance thereto are recited
similarly in each case. Alleged fraud loss calculations are also similar/the same. In short,
both cases are based on the same underlying alleged conduct and are indisputably parallel
with one another, the exception being that civil liability attaches in one case and criminal
liability in the other.
                                              2
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invoked all his referenced rights and declined to answer questions in a sworn deposition to

which he was summonsed to appear by the SEC on November 24, 2020.5

       Given the formal filing of federal criminal charges against him last Friday in a case

where the sentencing jeopardy he faces is substantial and in which his liberty interests are

at-risk, Couture is unable to answer, respond to, and/or defend against the allegations in

this case without waiving and/or compromising the same rights he has steadfastly invoked.

Undersigned counsel’s advice to Couture continue to invoke these rights until the criminal

matter is fully resolved, terminated, and/or disposed remains unwavering.

       Pursuant to L.R. 7.1(a)(2), undersigned counsel hereby certifies he has conferred

with counsel for the SEC in good faith to resolve or narrow the issue. Specifically,

undersigned counsel discussed the instant motion with SEC Enforcement Division Senior

Counsel William Donahue and Jennifer Cardello and advised them of Couture’s continued

intent to invoke his Fifth Amendment right in any/all proceedings in this case while the

referenced criminal case remains pending. The SEC does not oppose the Motion to Stay.6

       WHEREFORE, the counsel for the defendant respectfully requests this Honorable

Court to grant his Motion to Stay.


Dated: July 30, 2021,                         Respectfully submitted,
                                              JAMES KENNETH COUTURE
                                              By and through his attorneys,




5
  He did the same when the Massachusetts Secretary of State’s Securities Division sought
to depose him relative to the same core allegations on November 10, 2020.
6
  Assistant U.S. Attorney Kriss Basil, the lead prosecutor in the defendant’s criminal case
but not a party in this case, has informed undersigned counsel that his office will not oppose
this motion.


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                                                   /s/ R. Bradford Bailey
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                                       Certificate of Service

         I, R. Bradford Bailey, hereby certify that on this the 30th day of July 2021, I caused a true
copy of the foregoing Motion to Stay to be served upon all necessary parties to this matter by virtue
of electronically filing the same via the CM/ECF system.

                                                   /s/ R. Bradford Bailey
                                                  R. Bradford Bailey




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